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                           UNITED STATES DISTRICT COURT FOR THE
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8
      UNITED STATES OF AMERICA,                     CASE NO. CR17-201RSM
 9
                            Plaintiff,
10                                                  ORDER
                      v.
11
12
      GEORGE STEPHEN McGOWAN,
13
                           Defendant.
14
15
16         Defendant’s pro se motion to appoint counsel filed September 4, 2020 (Dkt #50),
17
     is GRANTED. The Clerk is directed to provide a copy of this Order to the CJA
18
     Coordinator for appointment of counsel in this matter.
19
20
21
           DATED this 15th day of September, 2020.
22
23
24                                            A
                                              RICARDO S. MARTINEZ
25                                            CHIEF UNITED STATES DISTRICT JUDGE
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